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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Criminal No. 25-mj-376 (JFD)

 UNITED STATES OF AMERICA,

                       Plaintiff,

         v.                                NOTICE OF APPEARANCE

 VANCE LUTHER BOELTER,

                       Defendant.


        Please add the following Assistant United States Attorneys to the above-captioned

case:

        Add AUSAs

        Bradley M. Endicott
        Matthew D. Forbes
        Daniel W. Bobier

Dated: June 23, 2025                             Respectfully submitted,

                                                 JOSEPH H. THOMPSON
                                                 Acting United States Attorney

                                                 /s/ Harry M. Jacobs
                                                 BY: HARRY M. JACOBS
                                                 Assistant U.S. Attorney
